       Case 3:19-cr-00032-MMD-CLB Document 130 Filed 11/05/20 Page 1 of 3




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                                UNITED STATES DISTRICT COURT
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                                    DISTRICT OF NEVADA
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11
     UNITED STATES OF AMERICA,                          Case No. 3:19-cr-00032-MMD-CLB
12
                   Plaintiff,                           ORDER RE:
13                                                      STIPULATION TO CONTINUE
            v.
                                                        SENTENCING HEARING
14
     JESSE PINA,                                        (FIRST REQUEST)
15
                   Defendant.
16
17
            IT IS HEREBY STIPULATED AND AGREED by and through RENE L.
18
19   VALLADARES, Federal Public Defender and LAUREN D. GORMAN, Assistant Federal

20   Public Defender, counsel for JESSE PINA and NICHOLAS A. TRUTANICH, United States
21   Attorney, and MEGAN RACHOW, Assistant United States Attorney, counsel for the UNITED
22
     STATES OF AMERICA, that the Sentencing hearing set for November 16, 2020, at 1:30 PM,
23
     be vacated and continued to December 14, 2020, at 11:00 AM.
24
25   ///

26   ///
       Case 3:19-cr-00032-MMD-CLB Document 130 Filed 11/05/20 Page 2 of 3




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 2          The continuance is necessary for the following reasons:
 3
            1.      This is a joint request by counsel for the Government and counsel for the
 4
     Defendant, Mr. Pina.
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 6          2.      The additional time requested by this Stipulation is reasonable pursuant to

 7   Federal Rule of Criminal Procedure 32(b)(2), which states that the “court may, for good cause,
 8   change any time limits prescribed in this rule.”
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            3.      Both counsel request this additional time in order to allow adequate time to
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     research sentencing issues and to prepare for the sentencing hearing.
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12          4.      Mr. Pina is on detained and agrees to the continuance. Specifically, Mr. Pina

13   was informed that the continuance will allow defense counsel to continue to gather documents
14   in support of the hearing and provide continuity of counsel.
15
            5.      This is the first request for continuance of the sentencing hearing.
16
            DATED this 4th day of November, 2020.
17
18       RENE L. VALLADARES                                  NICHOLAS A. TRUTANICH
         Federal Public Defender                             United States Attorney
19
20    By /s/ Lauren D. Gorman                     .     By    /s Megan Rachow                 .
         LAUREN D. GORMAN                                    MEGAN RACHOW
21       Assistant Federal Public Defender                   Assistant United States Attorney
         Counsel for JESSE PINA                              Counsel for the Government
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       Case 3:19-cr-00032-MMD-CLB Document 130 Filed 11/05/20 Page 3 of 3




 1                                           ORDER
 2         Based on the Stipulation of counsel, and good cause appearing,
 3         IT IS THEREFORE ORDERED that the Sentencing Hearing currently set for
 4
     November 16, 2020, at 1:30 PM, be vacated and continued to December 14, 2020, at 11:00
 5
     AM.
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 8         DATED this 5th Day of November 2020.

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11                                             ______________________________________
                                               MIRANDA M. DU
12                                             CHIEF UNITED STATES DISTRICT JUDGE
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